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                                                                                      11/14/2017
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTESVILLE DIVISION


  ELIZABETH SINES, ET AL.,                            CASE NO. 3:17-CV-00072
                                 Plaintiffs,
  v.                                                  ORDER
  JASON KESSLER, ET AL.,
                                                      JUDGE NORMAN K. MOON
                                 Defendants.



        Paragraph thirteen of the Pretrial Order (dkt. 101) referred nondispositive pretrial motions

 and issues to United States Magistrate Judge Joel C. Hoppe pursuant to 28 U.S.C. §

 636(b)(1)(A). Before that order was entered, Plaintiffs John Doe, Jane Doe 1, Jane Doe 2, and

 Jane Doe 3 filed a motion to proceed under pseudonyms. (Dkt. 98). In accordance with the

 pretrial order, that pending motion is now REFERRED to United States Magistrate Judge Joel

 C. Hoppe pursuant to 28 U.S.C. § 636(b)(1)(A).

        It is so ORDERED. The Clerk of the Court is hereby directed to send a certified copy of

 this Order to Plaintiffs, Defendants, and all counsel of record.
                     14th day of November, 2017.
        Entered this _____
